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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Jerry Mattio, Jr.                                        Case No.

          Plaintiff,

v.                                                                   COMPLAINT

Delanor, Kemper & Associates, LLC

                         Defendant.                      Jury Demand Requested

                                   JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §1331 and 15 U.S.C. §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim

         occurred in this District.

                                               PARTIES

     3- Plaintiff incurred an obligation to pay money, the primary purpose of which was for

         personal, family, or household uses (the “Debt”).

     4- Plaintiff is a resident of the State of Illinois.

     5- Defendant is a corporation with its principal place of business in Atlanta, Georgia.

     6- Defendant uses instruments of interstate commerce for its principal purpose of

         business, which it the collection of debts.

     7- Defendant regularly attempts to collects, or attempts to collect, debts owed or due

         another.

     8- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.

                              FACTS COMMON TO ALL COUNTS

     9- On or around February 15, 2011, Defendant telephoned Plaintiff and left a voicemail.




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10- During this communication, Defendant represented that Defendant was a law firm.

11- During this communication, Defendant misrepresented to Plaintiff that Defendant had

   an affidavit of service of summons and complaint regarding Plaintiff.

12- During this communication, Defendant misrepresented that Plaintiff had until February

   21, 2011 to contact Defendant and resolve the situation.

13- During this communication, Defendant threatened to do an asset search for Plaintiff

   and forward the affidavit to the state attorney general’s office in Illinois.

14- During this communication, Defendant misrepresented to Plaintiff that Plaintiff would

   be served and/or arrested by a local sheriff to appear before the state magistrate about a

   criminal matter.

15- On or around February 16, 2011, Plaintiff telephoned Defendant.

16- During this communication, Plaintiff notified Defendant that he retained an attorney to

   file for bankruptcy and provided the attorney’s contact information to Defendant.

17- Despite having notice that Plaintiff was represented by and attorney, on or around

   February 16, 2011, Defendant telephoned Plaintiff.

18- During this communication, Defendant threatened to forward an affidavit for service of

   summons and complaint to the state attorney general’s office unless Plaintiff resolved

   that matter that day.

19- During this communication, Defendant threatened to have Plaintiff served for a

   criminal charge and that there would be nothing his attorney could do since a guilty

   verdict was certain.

20- During this communication, Defendant threateningly stated that “if [Plaintiff[ decided

   to take the low road, [Defendant] will be there to meet [him].”




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21- On or around February 17, 2011, Defendant telephoned Plaintiff.

22- During this communication, Defendant misrepresented that Plaintiff had agreed to

   resolve the debt that day.

23- During this communication, Defendant misrepresented that Defendant would have an

   asset search for Plaintiff done within the hour.

24- During this communication, Defendant threatened to forward an affidavit for service of

   summons and complaint to the state attorney general’s office the next day, unless

   Plaintiff returned Defendant’s telephone call that day.

25- During this communication, Defendant misrepresented that Plaintiff would be served

   within 48 hours and would have to comply with the state magistrate in regards to a

   criminal action.

26- On or around February 18, 2011, Defendant telephoned Plaintiff.

27- During this communication, Defendant misrepresented that it had completed an asset

   search for Plaintiff.

28- During this communication, Defendant threatened to forward the matter to “his

   attorney” in Illinois for processing “through the state attorney general’s office” and

   Plaintiff “should be served by Tuesday.”

29- During this communication, Defendant threatened to harm Plaintiff’s reputation at his

   place of employment.

30- During this communication, Defendant threatened to inform Plaintiff’s employer that

   Plaintiff would have a criminal record in 30-45 days unless Plaintiff contacted

   Defendant to resolve the matter




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31- During this communication, Defendant misrepresented that it could get a “writ of

   return” to stop the legal process that had begun against Plaintiff.

                                           COUNT I

32- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

33- Defendant violated 15 USC § 1692c(a)(2) by communicating with a consumer after

   having notice that the consumer is represented by an attorney.

                                           COUNT II

34- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

35- Defendant violated 15 U.S.C. §1692(d)(1) by threatening to harm the person, reputation,

   or property of my client.

                                          COUNT III

36- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

37- Defendant violated 15 U.S.C. §1692d(2) by using abusive language during

   communication with my client.

                                          COUNT IV

38- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

39- Defendant violated 15 U.S.C. §1692e by engaging in false, deceptive, or misleading

   methods to collect a debt.




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                                           COUNT V

40- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

41- Defendant violated 15 U.S.C. §1692e(2) by misrepresenting the character, amount, and/or

   legal status of my client’s debt.

                                           COUNT VI

42- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

43- Defendant violated 15 U.S.C. §1692e(3) by misrepresenting yourself as an attorney during

   communications with my client.

                                          COUNT VII

44- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

45- Defendant violated 15 U.S.C. 1692e(4) by misrepresenting that non-payment of the debt

   will result in the arrest or imprisonment of my client.

                                          COUNT VIII

46- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

47- Defendant violated 15 U.S.C. §1692e(5) by threatening the take action that you cannot

   legally take.

                                           COUNT IX

48- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.




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49- Defendant violated 15 U.S.C. §1692e(5) by threatening to take action that you did not

   intend to take.

                                           COUNT X

50- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

51- Defendant violated 15 U.S.C. §1692e(7) by misrepresenting that my client committed a

   crime.

                                          COUNT XI

52- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

53- Defendant violated 15 U.S.C. §1692e(10) by using false or deceptive methods to collect a

   debt from my client.

                                          COUNT XII

54- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

55- Defendant violated 15 U.S.C. §1692e(11) by failing to disclose that a verbal

   communication is from a debt collector and that any information obtained will be used to

   collect a debt.

                                         COUNT XIII

56- Plaintiff incorporates all the allegations and statements made above as if reiterated

   herein.

57- Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable methods to collect

   a debt.




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                                     JURY DEMAND

58- Plaintiff demands a trial by jury.

                                PRAYER FOR RELIEF

59- Plaintiff prays for the following relief:

            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at

                trial, suffered as a direct and proximate result Defendant’s violations of the

                Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

            b. Judgment against Defendant for $1,000 in statutory damages for

                Defendant’s violations of the Fair Debt Collection Practices Act, pursuant to

                15 U.S.C. §1692k(a)(2)(A);

            c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3);

            d. Any other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Meier LLC

                                                By: /s/ Richard J. Meier
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